AO 245C (WDNC Rev. 01/2020) Judgment in a Criminal Case




                                               UNITED STATES DISTRICT COURT
                                                          Western District of North Carolina
    UNITED STATES OF AMERICA                                           )   AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                       )   (For Offenses Committed On or After November 1, 1987)
                V.                                                     )
                                                                       )
    RAYMOND BAUCOM                                                     )   Case Number: DNCW320CR000215-001
                                                                       )   USM Number: 34962-058
                                                                       )
    Filed Date of Original Judgment: 8/30/2021                         )   Joseph L. Ledford
    (Or Filed Date of Last Amended Judgment)
                                                                       )   Defendant’s Attorney


THE DEFENDANT:
  Pleaded guilty to count(s) 1.
  Pleaded nolo contendere to count(s) which was accepted by the court.
  Was found guilty on count(s) after a plea of not guilty.
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                                                                             Date Offense
 Title and Section                         Nature of Offense                                                 Concluded         Counts
 18:2252A(a)(2)(B),                        Receipt of Child Pornography                                      10/1/2018           1
 2252A(b)(1)

       The Defendant is sentenced as provided in pages 2 through 9 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

  The defendant has been found not guilty on count(s).
  Count(s) 2 (is)(are) dismissed on the motion of the United States.
        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay monetary penalties, the defendant shall notify the court and United States
attorney of any material change in the defendant's economic circumstances.


                                                                                Date Court Ordered Amendment: 10/29/2021




                                                                                Date: November 4, 2021




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                                                          IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
THREE HUNDRED (300) MONTHS.

 The Court makes the following recommendations to the Bureau of Prisons:
         1.    Participation in any available educational and vocational opportunities.
         2.    Participation in the Federal Inmate Financial Responsibility Program.
         3.    Participation in any available mental health treatment programs as may be recommended by a Mental Health
               Professional.
         4.    Participation in sex offender treatment programs, if eligible.
         5.    Participation in any available substance abuse treatment program and, if eligible, receive benefits of
               18:3621(e)(2).

 The Defendant is remanded to the custody of the United States Marshal.

 The Defendant shall surrender to the United States Marshal for this District:
            As notified by the United States Marshal.
            At on .

 The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            As notified by the United States Marshal.
            Before 2 p.m. on .
            As notified by the Probation Office.


                                                            RETURN

I have executed this Judgment as follows:




Defendant delivered on __________ to _______________________________________ at

________________________________________, with a certified copy of this Judgment.




                        United States Marshal
                                                                       By:
                                                                             Deputy Marshal




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                                                                    SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of LIFE.

☐ The condition for mandatory drug testing is suspended based on the court's determination that the defendant poses a low risk of
future substance abuse.
                                                             CONDITIONS OF SUPERVISION
The defendant shall comply with the mandatory conditions that have been adopted by this court.
       1.    The defendant shall not commit another federal, state, or local crime.
       2.    The defendant shall not unlawfully possess a controlled substance.
       3.    The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days of release from
             imprisonment and at least two periodic drug tests thereafter, as determined by the Court (unless omitted by the Court).
       4.    The defendant shall cooperate in the collection of DNA as directed by the probation officer (unless omitted by the Court).


The defendant shall comply with the discretionary conditions that have been adopted by this court and any additional conditions ordered.
       5.    The defendant shall report to the probation office in the federal judicial district where he/she is authorized to reside within 72 hours of release from
             imprisonment, unless the probation officer instructs the defendant to report to a different probation office or within a different time frame.
       6.    The defendant shall report to the probation officer in a manner and frequency as directed by the Court or probation officer.
       7.    The defendant shall not leave the federal judicial district where he/she is authorized to reside without first getting permission from the Court or probation
             officer.
       8.    The defendant shall answer truthfully the questions asked by the probation officer. However, defendant may refuse to answer a question if the truthful answer
             would tend to incriminate him/her of a crime. Refusal to answer a question on that ground will not be considered a violation of supervised release.
       9.    The defendant shall live at a place approved by the probation officer. The probation officer shall be notified in advance of any change in living arrangements
             (such as location and the people with whom the defendant lives). If advance notification is not possible due to unanticipated circumstances, the defendant
             shall notify the probation officer within 72 hours of becoming aware of a change or expected change.
      10.    The defendant shall allow the probation officer to visit him/her at any time at his/her home or any other reasonable location as determined by the probation
             office, and shall permit the probation officer to take any items prohibited by the conditions of his/her supervision that the probation officer observes.
      11.    The defendant shall work full time (at least 30 hours per week) at lawful employment, actively seek such gainful employment or be enrolled in a full time
             educational of vocational program unless excused by the probation officer. The defendant shall notify the probation officer within 72 hours of any change
             regarding employment or education.
      12.    The defendant shall not communicate or interact with any persons he/she knows is engaged in criminal activity, and shall not communicate or interact with any
             person he/she knows to be convicted of a felony unless granted permission to do so by the probation officer.
      13.    The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law enforcement officer.
      14.    The defendant shall not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was designed, or
             was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
      15.    The defendant shall not act or make any agreement with a law enforcement agency to act as a confidential informant without first getting the permission of the
             Court.
      16.    The defendant shall refrain from excessive use of alcohol and shall not unlawfully purchase, possess, use, distribute or administer any narcotic or controlled
             substance or any psychoactive substances (including, but not limited to, synthetic marijuana, bath salts) that impair a person’s physical or mental functioning,
             whether or not intended for human consumption, or any paraphernalia related to such substances, except as duly prescribed by a licensed medical
             practitioner.
      17.    The defendant shall participate in a program of testing for substance abuse. The defendant shall refrain from obstructing or attempting to obstruct or tamper,
             in any fashion, with the efficiency and accuracy of the testing. The defendant shall participate in a substance abuse treatment program and follow the rules
             and regulations of that program. The probation officer will supervise the defendant’s participation in the program (including, but not limited to, provider,
             location, modality, duration, intensity) (unless omitted by the Court).
      18.    The defendant shall not go to, or remain at any place where he/she knows controlled substances are illegally sold, used, distributed, or administered without
             first obtaining the permission of the probation officer.
      19.    The defendant shall submit to a search if the Probation Officer has a reasonable suspicion that the defendant has committed a crime or a violation of a
             condition of supervised release. Such a search may be conducted by a U.S. Probation Officer, and such other law enforcement personnel as the probation
             officer may deem advisable, without a warrant or the consent of the defendant. Such search may be of any place where evidence of the above may
             reasonably be expected to be found, including defendant’s person, property, house, residence, vehicle, communications or data storage devices or media or
             office.
      20.    The defendant shall pay any financial obligation imposed by this judgment remaining unpaid as of the commencement of the sentence of probation or the term
             of supervised release in accordance with the schedule of payments of this judgment. The defendant shall notify the court of any changes in economic
             circumstances that might affect the ability to pay this financial obligation.
      21.    The defendant shall support all dependents including any dependent child, or any person the defendant has been court ordered to support.
      22.    The defendant shall participate in transitional support services (including cognitive behavioral treatment programs) and follow the rules and regulations of such
             program. The probation officer will supervise the defendant’s participation in the program (including, but not limited to, provider, location, modality, duration,
             intensity). Such programs may include group sessions led by a counselor or participation in a program administered by the probation officer.
      23.    The defendant shall follow the instructions of the probation officer related to the conditions of supervision.




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ADDITIONAL CONDITIONS:

     24.     The defendant shall participate in a mental health evaluation and treatment program and follow the rules and regulations of
             that program. The probation officer, in consultation with the treatment provider, will supervise the defendant’s participation
             in the program (including, but not limited to provider, location, modality, duration, and intensity). The defendant shall take
             all mental health medications as prescribed by a licensed health care practitioner.
     25.     All conditions previously imposed remain in effect.




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                                                                          SEX OFFENDER
                                                             CONDITIONS OF SUPERVISION
The defendant shall comply with the standard conditions that have been adopted by this court and any additional conditions ordered.
       1.    The defendant shall have no direct or indirect contact, at any time, for any reason with any victim(s), any member of any victim’s family, or affected parties in
             this matter unless provided with specific written authorization to do so in advance by the U.S. Probation Officer.
       2.    The defendant shall submit to a psycho-sexual evaluation by a qualified mental health professional experienced in evaluating and managing sexual offenders
             as approved by the U.S. Probation Officer. The defendant shall complete the treatment recommendations and abide by all of the rules, requirements, and
             conditions of the program until discharged. The defendant shall take all medications as prescribed.
       3.    The defendant shall submit to risk assessments, psychological and physiological testing, which may include, but is not limited to a polygraph examination
             and/or Computer Voice Stress Analyzer (CVSA), or other specific tests to monitor the defendant’s compliance with supervised release and treatment
             conditions, at the direction of the U.S. Probation Officer.
       4.    The defendant’s residence, co-residents and employment shall be approved by the U.S. Probation Officer. Any proposed change in residence, co-residents or
             employment must be provided to the U.S. Probation Officer at least 10 days prior to the change and pre-approved before the change may take place.
       5.    The defendant shall not possess any materials depicting and/or describing “child pornography” and/or “simulated child pornography” as defined in 18 U.S.C. §
             2256, nor shall the defendant enter any location where such materials can be accessed, obtained or viewed, including pictures, photographs, books, writings,
             drawings, videos or video games. The Court will not prohibit the possession or viewing of legal pornographic materials, including upon the recommendation of
             medical professionals.
       6.    The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed by the
             probation officer, the Bureau of Prisons, or any state sex offender registration agency in which the defendant resides, works, is a student, or was convicted of
             a qualifying offense.
       7.    The defendant shall have no contact, including any association such as verbal, written, telephonic, or electronic communications with any person under the
             age of eighteen (18) except: 1) in the presence of the parent or legal guardian of said minor; 2) on the condition that the defendant notifies the parent or legal
             guardian of their conviction or prior history; and, 3) has written approval from the U.S. Probation Officer. This provision does not encompass persons under
             the age of eighteen (18), such as waiters, cashiers, ticket vendors, etc. with whom the defendant must deal, in order to obtain ordinary and usual commercial
             services. If unanticipated contact with a minor occurs, the defendant shall immediately remove himself/herself from the situation and shall immediately notify
             the probation officer.
       8.    The defendant shall not loiter within 100 feet of any parks, school property, playgrounds, arcades, amusement parks, day-care centers, swimming pools,
             community recreation fields, zoos, youth centers, video arcades, carnivals, circuses or other places primarily used or can reasonably be expected to be used
             by children under the age of eighteen (18), without prior written permission of the U.S. Probation Officer.
       9.    Except as required for employment (see Condition 4), the defendant shall not use, purchase, possess, procure, or otherwise obtain any computer (as defined
             in 18 U.S.C. § 1030(e)(1)) or electronic device that can be linked to any computer networks, bulletin boards, internet, internet service providers, or exchange
             formats involving computers unless approved by the U.S. Probation Officer. Such computers, computer hardware or software is subject to warrantless
             searches and/or seizures by the U.S. Probation Office.
      10.    The defendant shall allow the U.S. Probation Officer, or other designee, to install software designed to monitor computer activities on any computer the
             defendant is authorized to use, except for that of an employer. This may include, but is not limited to, software that may record any and all activity on
             computers (as defined in 18 U.S.C. § 1030(e)(1)) the defendant may use, including the capture of keystrokes, application information, internet use history,
             email correspondence, and chat conversations. The defendant shall pay any costs related to the monitoring of computer usage.
      11.    The defendant shall not use or have installed any programs specifically and solely designed to encrypt data, files, folders, or volumes of any media. The
             defendant shall, upon request, immediately provide the probation officer with any and all passwords required to access data compressed or encrypted for
             storage by any software.
      12.    The defendant shall provide a complete record of all computer use information including, but not limited to, all passwords, internet service providers, email
             addresses, email accounts, screen names (past and present) to the probation officer and shall not make any changes without the prior approval of the U.S.
             Probation Officer.
      13.    The defendant shall not have any social networking accounts on networks used or reasonably expected to be used by minors without the approval of the U.S.
             Probation Officer.
      14.    The defendant shall not be employed in any position or participate as a volunteer in any activity that involves direct or indirect contact with children under the
             age of eighteen (18), and under no circumstances may the defendant be engaged in a position that involves being in a position of trust or authority over any
             person under the age of eighteen (18), without written permission from the U.S. Probation Officer.




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                                                          CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the Schedule of Payments.


                  ASSESSMENT                                      RESTITUTION                              FINE
                    $100.00                                        $18,000.00                              $0.00




                                                                    INTEREST

         The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
on the Schedule of Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

 The court has determined that the defendant does not have the ability to pay interest and it is ordered that:

           The interest requirement is waived.

           The interest requirement is modified as follows:


                                                          COURT APPOINTED COUNSEL FEES

 The defendant shall pay court appointed counsel fees.




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                                                          RESTITUTION PAYEES

The defendant shall make restitution to the following payees in the amounts listed below:



                               NAME OF PAYEE                                  AMOUNT OF RESTITUTION ORDERED
                                   “Jenny”                                               $3,000.00
                                    “Andy”                                               $3,000.00
                                “John Doe #1”                                            $3,000.00
                                “John Doe #2”                                            $3,000.00
                                “John Doe #3”                                            $3,000.00
                                “John Doe #4”                                            $3,000.00



 Joint and Several Restitution is Ordered as follows:

              Defendant and Co-Defendant Names and Case Numbers (including defendant number) if appropriate:

              Associated Defendant Name(s) and Case Number(s) (including defendant number) if appropriate:

              Court gives notice that this case may involve other defendants who may be held jointly and severally liable
                     for payment of all or part of the restitution ordered herein and may order such payment in the future.


The victims’ recovery is limited to the amount of their loss and the defendant’s liability for restitution ceases if and
when the victim(s) receive full restitution. Any payment not in full shall be divided proportionately among victims.


Pursuant to 18 U.S.C. § 3364(i), all nonfederal victims must be paid before the United States is paid.




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                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

           A  Lump sum payment of $0.00 due immediately, balance due
                  Not later than
                  In accordance  (C),  (D) below; or

        B  Payment to begin immediately through the Financial Responsibility Program (may be combined with  (D)
below); or

           C  Payment in equal monthly installments of $50.00 to commence 60 days after the date of this judgment; or

           D  In the event the entire amount of criminal monetary penalties imposed is not paid prior to the
               commencement of supervision through the Financial Responsibility Program, payments shall be made in
               equal monthly installments of $50.00 to commence 60 days after release from imprisonment to a term of
               supervision. The U.S. Probation Officer shall pursue collection of the amount due, and may request to modify
               a payment schedule if appropriate 18 U.S.C. § 3572.


Special instructions regarding the payment of criminal monetary penalties:

 The defendant shall pay the cost of prosecution.
 The defendant shall pay the following court costs:
 The defendant shall forfeit the defendant’s interest in the following property to the United States as set forth in the
Consent Order document 32 entered 9/17/2020.



Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of
imprisonment payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal
monetary penalty payments are to be made to the United States District Court Clerk, 401 West Trade Street,
Room 1301, Charlotte, NC 28202, except those payments made through the Bureau of Prisons’ Inmate Financial
Responsibility Program. All criminal monetary penalty payments are to be made as directed by the court.

The Defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.




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                                                          STATEMENT OF ACKNOWLEDGMENT

I understand that my term of supervision is for a period of _______months, commencing on ____________________.

Upon a finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision,
(2) extend the term of supervision, and/or (3) modify the conditions of supervision.

I understand that revocation of probation and supervised release is mandatory for possession of a controlled substance,
possession of a firearm and/or refusal to comply with drug testing.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



(Signed)         ____________________________________ Date: _________________
                  Defendant

(Signed)         ____________________________________ Date: _________________
                  U.S. Probation Office/Designated Witness


 The Court gives notice that this case may involve other defendants who may be held jointly and severally liable for
payment of all or part of the restitution ordered herein and may order such payment in the future.




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